CaSe: 3218-mj-00576-|\/|JN DOC #Z l Filed: 08/17/18 Page: l Of 13 PAGE|D #Z l

AO91 (Rev. l]/i 1) Cr:`minal Complaint

UNITED STATES DISTRICT COURT

for the
Southem District of Ohio

 

 

 

 

 

United States of America ) ~‘:5=";¢ §§ g
) Case No.
STEPHEN LAVERY ) l ' - ' »
§ MicHAEL J. NEWi./iAN
)
Dej@ndam(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 411 4/2018 and 5/3/2018 in the county of N|Ol”|fQOm@Fy in the
Southern District of Ohio , the defendant(s) violated:
Code Sectz'on O]j"ense Descrfptr'on
18 U.S.C. § 2252(3)(2) & (b)(l) Distribution of child pornography

18 U.S.C. § 2252(a)(4)(B) & (b)(2) Possession or access with intent to view child pornography

This criminal complaint is based on these facts:

See Aftached Affidavl`t

if Continued on the attached sheet.

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Complainantvsi')in'@i rare

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Sworn to before me and signed in my presence

Date: E|'Z|lk

City and State; Daytcn, Ohio |Vlichael J.'Newman, United States N|agistrate Judge

' `Prr'nred name and title

 

Judge ’s sfgnntuiié `\" ,/"'

 

CaSe: 3218-mj-00576-|\/|JN DOC #Z l Filed: 08/17/18 Page: 2 Of 13 PAGE|D #Z 2

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Andrea R. Kinzig, being duly sworn, depose and state the following:
INTRODUCTION

I am a Special Agent (SA) with the F ederal Bureau of Investigation (FBI), and have been so
employed since 2005. l am currently assigned to the Dayton, Ohio Resident Agency of the
Cincinnati Field Office. In connection with my official duties, l investigate violations of
federal criminal laws, including offenses involving child exploitation and child
pornography

Along with other agents, officers, and investigators of the Kettering (Ohio) Police
Department, Ohio Bureau of Criminal Investigation (BCI), Cuyahoga County (Ohio)
Internet Crimes Against Children (ICAC) Task Force, and FBI, I am currently involved in
an investigation of child pornography offenses committed by STEPHEN LAVERY.
Based on the investigation conducted to-date, there is probable cause to believe that
STEPHEN LAVERY possessed child pornography, in violation of 18 U.S.C. §
2252(a)(4)(B) and (b)(Z), and distributed child pornography, in violation of 18 U.S.C. §
2252(a)(2) and (b)(l). l submit this Affidavit in support of a criminal complaint

As part of the investigation, I have reviewed documentation and reports provided by and
discussed information with other agents, officers, and investigators involved in the
investigation For purposes of this Affidavit, I have not distinguished between information
of which I have direct knowledge and that of which l have hearsay knowledgel

This Affidavit does not contain every fact known to the investigation, but only those deemed
necessary to demonstrate sufficient probable cause that STEPHEN LAVERY committed
the offenses alleged in the complaint

BACKGROUND INFORMATION

Pertinent Federal Statutes

18 U.S.C. § 2252(a)(4)(B) and (b)(Z) states that it is a violation for any person to knowingly
possess, or knowingly access with the intent to view, one or more books, magazines,
periodicals, films, video tapes, or other matter which contain any visual depiction that has
been mailed, or has been shipped or transported using any means or facility of interstate or
foreign commerce or in or affecting interstate or foreign commerce, or which was produced
using materials which have been mailed or so shipped or transported, by any means
including by computer if the producing of such visual depiction involves the use of a minor
engaging in sexually explicit conduct and such visual depiction is of such conduct, or
attempts or conspires to do so.

CaSe: 3218-mj-00576-|\/|JN DOC #Z 1 Filed: 08/17/18 Page: 3 Of 13 PAGE|D #Z 3

18 U.S.C. § 2252(a)(2) and (b)(l) states that it is a violation for any person to knowingly
receive or distribute any visual depiction using any means or facility of interstate or foreign
commerce or that has been mailed, shipped, or transported in or affecting interstate or
foreign commerce or which contains materials which have been mailed or so shipped or
transported by any means, including by computer, or to knowingly reproduce any visual
depiction for distribution using any means or facility of interstate or foreign commerce or in
or affecting interstate or foreign commerce or through the mails if the producing of such
visual depiction involves the use of a minor engaging in sexually explicit conduct and such
visual depiction is of such conduct.

For purposes of these statutes, the term “sexually explicit conduct” is defined in 18 U.S.C. §
2256(2) as:

a. “Actual or simulated -
i. Sexual intercourse, including genital-genital, oral-genital, anal-genital, or
oral-anal, whether between persons of the same or opposite sex;
ii. Bestiality;
iii. l\/lasturbation;
iv. Sadistic or masochistic abuse; or
v. Lascivious exhibition of genitals or pubic area of any person.”

Definitions
The following definitions apply to this Affidavit:

a. “Child Pornography” includes the definition in Title 18 U.S.C. § 2256(8) (any
visual depiction of sexually explicit conduct where (a) the production of the visual
depiction involved the use of a minor engaged in sexually explicit conductJ (b) the
visual depiction is a digital image, computer image, or computer-generated image
that is, or is indistinguishable from, that of a minor engaged in sexually explicit
conduct, or (c) the visual depiction has been created, adapted, or modified to appear
that an identifiable minor is engaged in sexually explicit conduct)_

b. “Visual depictions” include undeveloped film and videotape, and data stored on
computer disk or by electronic means, which is capable of conversion into a visual
image (see 18 U.S.C. § 2256(5)).

c. “Minor” means any person under the age of eighteen years (see 18 U.S.C. §
2256(1)).

CaSe: 3218-mj-00576-|\/|JN DOC #Z 1 Filed: 08/17/18 Page: 4 Of 13 PAGE|D #Z 4

d. “Intcrnet Service Providers” or “ISPs” are commercial organizations which
provide individuals and businesses access to the Internet. ISPs provide a range of
functions for their customers, including access to the Internet, Web hosting, e-mail,
remote storage, and co-location of computers and other communications equipment
ISPs can offer various means by which to access the Internet including telephone
based dial-up, broadband based access via a digital subscriber line (DSL) or cable
television, dedicated circuits, or satellite based subscription ISPS typically charge a
fee based upon the type of connection and volume of data, called bandwidth that the
connection supports. Many ISPs assign each subscriber an account name such as a
user name or screen name7 an e-mail address, and an e-mail mailbox, and the
subscriber typically creates a password for the account. By using a computer
equipped with a telephone or cable modem, the subscriber can establish
communication with an ISP over a telephone line or through a cable system, and can
access the Internet by using his or her account name and password.

e. An “Internet Protocol address”, also referred to as an “IP address”, is a unique
numeric address that computers or electronic devices use in order to communicate
with each other on a computer network utilizing the Internet Protocol (IP) standard
Every computer or device connected to the Internet is referenced by a unique IP
address An IP address can be thought of as the equivalent to a street address or a
phone number, just as each street address and phone number uniquely identifies a
building or telephone IP addresses are composed of four sets of digits known as
“octets,” ranging in value from 0-255, separated by decimal points. An example of
an IP address is 192.168.10.102. There are two types of IP addresses; static and
dynamic. A static address is permanently assigned to a particular device and as a
practical matter never changes. A dynamic address provided by an Internet service
provider to a client computer is valid only for the duration of the session that the
client computer is connected to the Internet (or other network).

f. “Website” consists of textual pages of information and associated graphic imagcs.
The textual information is stored in a specific format known as Hyper-Text l\/iark-up
Language (HTML) and is transmitted from web servers to various web clients via
Hyper-Text Transport Protocol (HTTP).

g. A “Forensic Hash” is the process of using a mathematical function and applying it
to a computer file, which results in a “hash value”. A “hash value” is a unique
identifier for the electronic data - similar to a DNA sequence or a fingerprint of the
electronic data. When a hash algorithm is used, it computes a string of numbers for a
digital file. Any change to the data Will result in a change to the hash value. Both
MDS and SHA-l algorithms are commonly used on forensic image files.

CaSe: 3218-mj-00576-|\/|JN DOC #Z 1 Filed: 08/17/18 Page: 5 Of 13 PAGE|D #Z 5

Cloud Storage and Dronbox

Cloud computing has become an increasingly popular way for both individuals and
businesses to store and maintain data Cloud computing utilizes computer resources
delivered as a service over a network (typically the Internet). Resources are distributed
across a variety of remote data centers in different locations. The following terms relate to
the use of cloud computing:

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“Cloud” is a generic term that refers to a network where the physical location and
inner workings are abstracted away and unimportant to the usage. “The cloud” was
first used to describe telecommunication networks, where the consumer was
blissfully unaware of the inner workings of how their telephone conversation was
transmitted to the remote end. The term was later used to describe computer
networks, and ultimately to describe the Internet specifically Knowing the physical
location of a website is unimportant to using that service. Cloud computing also
takes advantage of this definition of cloud, as it is also a service connected to a
network, often the Internet. l-lowever, cloud computing offers specific services
whereby customers rent remote computing resources such as processing power or
data storage, and provision those resources themselves

“Cloud computing” is a model for enabling ubiquitous, convenient, on-demand
network access to a shared pool of configurabie computing resources (e,g., networks,
servers, storage, applications, and services) that can be rapidly provisioned and
released with minimal management effort or service provider interaction

“Cloud Service Provider” (CSP) is the entity that offers cloud computing services
CSP’s offer their customers the ability to use infrastructure, platform, or software as
a service. These services may include offerings such as remote storage, virtual
machines, or Web hosting. Service is billed as a utility based on usage. CSP’s
maintain records pertaining to the individuals or companies that have subscriber
accounts with it. Those records could include identifying and billing information,
account access information in the form of log files, account application information,
and other information both in computer data format and in written record format.
CSP’s reserve and/or maintain computer disk storage space on their computer system
for the use of the cloud service subscriber for both temporary and long- term storage
of electronic data with other parties and other types of electronic data and files. Such
temporary, incidental storage is defined by statute as “electronic storage,” and the
provider of such a service is an “electronic communications service” provider. A
cloud service provider that is available to the public and provides long-term storage
services to the public for electronic data and files, is providing a “remote computing
service.” CSP’s may be able to provide some of the following, depending on the
type of services they provide: NetFlow, Full Packet Captures, Firewall and Router

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CaSe: 3218-mj-00576-|\/|JN DOC #Z 1 Filed: 08/17/18 Page: 6 Of 13 PAGE|D #Z 6

Logs, Intrusion Detection Logs, Virtual Machines, Customer Account Registration,
Customer Billing lnformation

d. “Virtual Machine” (VM) is a system where the hardware is virtual rather than
physical Virtualization is a technique whereby special software, called the
hypervisor, can run many virtual (rather than physical) machines The hardware on
the single machine is emulated so that each virtual instance of a computer, called a
VM, does not require dedicated physical hardware, but each VM believes it has its
own hardware The hypervisor has special access to control all of the virtual guests,
but it should also be able to isolate the guests from each other.

e. “NetFlow Records” are collections of network statistics collected by a service
provider about traffic flows. A traffic flow is a sequence of data packets from a
source to a destination NetFlow is collected when it is impractical to collect all of
the data packets for a flow. Providers may use these logs for quality control,
security, or billing. For any particular network flow, NetFlow can include the source
and destination IP addresses, network ports, timestamps, and amount of traffic
transferred A provider may only collect a sample of all possible sessions, and may
only store the NetFlow for a short time.

Dropbox is an on-line service that allows its users to store files on Dropbox Inc.’s servers.
According to Dropbox Inc.’s privacy policy, at https://www.dropbox.com/privacv, Dropbox
Inc. collects and stores “the files you upload, download, or access with the Dropbox
Service,” and also collects logs: “When you use the Service, we automatically record
information from your Device, its software, and your activity using the Services. This may
include the Device’s IP address, browser type, the web page visited before you came to our
website, information you search for on our website, locale preferences, identification
numbers associated with your Devices, your mobile carrier, date and time stamps associated
with transactions, system configuration information metadata concerning your Files, and
other interactions with the Service.

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Rabb.it, commonly referred to as “Rabbit”, operates a video-sharing website that can be
accessed at www.rabb.it.com. The website was created in 20]3. Rabb.it is currently based
in San Mateo, California.

The Rabh.it application can be downloaded free of charge from the Google Play Store and
through Apple iTunes. Users must utilize the Chrome, Firefox, or Opera web browsers to
use the application

User accounts are created by selecting a user name and providing an email address Before
accounts can be utilized, they must be verified by clicking on a hyperlink in an email sent by
the company.

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CaSe: 3218-mj-00576-|\/|JN DOC #Z 1 Filed: 08/17/18 Page: 7 Of 13 PAGE|D #Z 7

The Rabb.it application allows users to watch movies, television, and videos together; video,
voice, and message chat with each other; play games together; and browse the Internet
together.

Users can invite other users into private chat rooms by sending an invite link via email,
Facebook, Twitter, or other Rabb.it chat rooms Once a chatroom is accessed, a list of users
are displayed on the right side of the screen in an area with a chat function There are three
main areas in the chat rooms:

a. A Rabbitcast, or shared screen, allows users to watch videos or browse the Internet
together. lt is like a shared Internet browser that anyone inside the room can control.

b. Messages, or text chat, allows users to speak to everyone in the room via text
messages as well as share images, GIF’s, and emoji’s.

c. Video chat allows users to communicate with each other via web cameras and
microphones.

Bing Search Engine

Bing is a web search engine owned and operated by Microsoft Corporation, a company
based in Redmond, Washington. The search engine can be accessed at \va.bing.com.

Bing provides a variety of search services, including web, video, image, and map search
products Bing Image is a search engine that allows users to upload images or URL’s into
the search engine in order to search for other similar images Users do not need to have a
l\/licrosoft account or authenticate their identities in order to use the Bing search services

NCMEC and vaerTipline Reports

The National Center for Missing and Exploited Children (commonly known as “NCMEC”)
was founded in 1984 to serve as a clearinghouse on issues related to missing and sexually
exploited children lt is currently authorized by Congress to perform 19 programs and
services to assist law enforcement, families, and professions find missing children, reduce
child sexual exploitationj and prevent child victimization.

As part of its hinctions, NCMEC administers the CyberTipline. The CyberTipline receives
leads and tips from the public and Electronic Service Providers regarding suspected crimes
of sexual exploitation committed against children Electronic Service Providers are required
by law to report apparent child pornography to law enforcement via the CyberTipline.

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CaSe: 3218-mj-00576-|\/|JN DOC #Z 1 Filed: 08/17/18 Page: 8 Of 13 PAGE|D #Z 8

Analysts review these tips and refer them to the appropriate federal, state, and local law
enforcement authorities

FAC'I`S SUPPORTING PROBABLE CAUSE

ln or around January 2015, Dropbox Inc. reported to NCMEC’s CyberTipline that
approximately four suspected child pornography files were discovered in a Dropbox account
associated with the email address goddeadl45@hotmail.com and a screen or user name of
“God Dead”. Dropbox lnc. identified that the company discovered the files on or around
January 12, 2015. Dropbox Inc.’s records identified that the IP address of 162.234.139.61
(hereinafter referred to as the “TARGET IP ADDRESS”) was utilized to log into the
Dropbox account during the approximate time period of December 30, 2014 through
January 8, 2015.

Dropbox Inc. provided the approximately four suspected child pornography files to
NCMEC. The files were originally forwarded to the Cuyahoga County ICAC Task Force
for further investigation I later obtained and reviewed these files as part of the
investigation Based on my training and experience, l believe that at least approximately
three of the files depict child pornography (as defined by 18 U.S.C. § 2256(8)). By way of
example, one of the files is described as follows:

a. 2014-08-21 24-19-17 768.mp4: The file is a video that depicts an adult white
female performing oral sex on what appears to be a nude toddler-aged white female
child. The video is approximately thirty-eight seconds in duration

ln or around February 2018, Microsoft Corporation reported to NCMEC’s CyberTipline in
two separate reports that an individual utilizing the TARGET IP ADDRESS had uploaded
two suspected child pornography files to the Bing Images search engine on or around
February 14, 2018 and February 15, 2018. The files were originally forwarded to the
Cuyahoga County ICAC Task Force for further investigation I later obtained and reviewed
these files as part of the investigation Based on my training and experience, I believe that at
least approximately two of the files depict child pornography (as defined by 18 U.S.C. §
2256(8)). By way of example, one of the files is described as follows:

a. 3fcba70b-0dc5-4822-a7df-9d2eedfbbb4d.iDg: The file is an image that depicts what
appears to be a nude toddler-aged white female child lying on her back with her legs
straddled above her head. What appears to be a penis is next to or touching the
child’s vagina. The file was uploaded to the Bing Images search engine on or around
February 14, 2018.

ln or around April 2018, Rabb.it reported to NCl\/IEC’s CyberTipline via two reports that
approximately twenty-two suspected child pornography files were discovered in a Rabb.it
account having an account name of “myroom18365”. Rabb.it further reported that the
account user had a profile name of “Jerkin Hard” and an email address of

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CaSe: 3218-mj-00576-|\/|JN DOC #Z 1 Filed: 08/17/18 Page: 9 Of 13 PAGE|D #Z 9

shinigamibeastv@gmail.com. Rabb.it’s records identified that the twenty-two files were
shared on Rabb.it’s platform with one or more other users on or around April 14, 2018.
Rabb.it’s records also identified that the TARGET IP ADDRESS was utilized by the
account user at the time the files were shared

 

Rabb.it provided the approximately twenty-two suspected child pornography files to
NCMEC. The files were originally forwarded to the Cuyahoga County ICAC Task Force
for further investigation l later obtained and reviewed these files as part of the
investigation Based on my training and experience, I believe that at least approximately
twenty of the files depict child pornography (as defined by 18 U.S.C. § 2256(8)). By way of
example, four of the files are described as follows:

a. 2bf28bb3-b59f-43 08-8fa0-40bd0af4ec76.ipg The file is an image that depicts what
appears to be a nude pre-pubescent white female child lying on her back with her
legs spread apartl What appears to be an adult white male is kneeling in front of the
child and inserting his penis into the child’s anus.

b. 769634a6-ecaa-4e62-b50e-385ch63 fc5b.ipg: The file is an image that depicts what
appears to be two pre-pubescent white female children and a nude adult white male
on a bed together. What appears to be a nude pre-pubescent white male child and a
partially nude adult white female are standing near the bed. One of the female
children is holding the penis of the adult male in her hand near her face. The child’s
mouth is open, and it appears that semen is secreted into her mouth.

c. 42b0176f-d7e7-4l1d-b34f4-1c531fld679f.ipg: The file is an image that depicts
what appears to be a nude pre-pubescent White female child lying in front of a mirror
on her back with her legs spread apart, exposing her nude genitals and anus to the
camera

d. f595a28f-00cf-4626-9b96-eec94e6326l l .ipg: The file is an image that depicts what
appears to be a nude pre-pubescent white female child lying on her back. A penis is
over the child’s groin area. There appears to be semen is secreted on the child’s
abdomen

Pursuant to a search warrant authorized by the United States District Court for the Southern
District of Ohio, l obtained from Rabb.it the chat logs which documented how the twenty-
two files noted above were shared These logs identified that the files were shared with two
other users in two separate chat rooms on or around April 14, 2018. By way of example,
below is an excerpt of one of these chats, which details how the four files described in
paragraphs 24(a) through 24(d) were distributed:

Other User: fuk you’re trying to make me blow

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CaSe: 3218-mj-00576-|\/|.]N DOC #Z 1 Filed: 08/17/18 Page: 10 Of 13 PAGE|D #Z 10

Jerkin Hard: Sends the image entitled 2b]98bb3-b59j€43c8-8f00-
405d0nf4ee76ypg (described in paragraph 24(a)

Other User: she takesit well

Other User: me too

Jerkin Hard: Getting close here

Jerkin Hard: Sends the image entitled 769634a6-ecaa-4e62-b50e-
385f0863fc5bypg (descrr'bed fn paragraph 24{!))

Other User: Good kiddy slut. Earning that grown up dick

Jerkin Hard: good girl

Other User: Sends the following image entitled 421)0] 76f-d7e 7-4] ld-
b3 4f4-] c5 3 1 fl 616 79f jpg (descrr`bed in paragraph 24(€)

Other User: Sends image entitled f595a28f00cf4626-9b96-
eec94e6326] l.jpg (described in paragraph 24(a')

Jerkin Hard: 5 to 11

Other User: Hehe that lookls like a fun hole huh?

Jerkin Hard: mm

AT&T was identified as the Internet Service Provider for the TARGET IP ADDRESS. On
or around April 23, 2018, an investigator from the Cuyahoga County ICAC served a
subpoena to AT&T requesting subscriber information for the TARGET lP ADDRESS on
the date and time that of one of the suspected child pornography files was shared on the
Rabb.it platform. Records received in response to the subpoena identified that the TARGET
IP ADDRESS was subscribed to TOMMY LAVERY at 3935 Parliament Place, Apartment
40, Kettering, Ohio. AT&T’s records identified that the account was established on or
around December 26, 2014.

On or around May 2, 2018, a search warrant was authorized by the Kettering (Ohio)
Municipal Court for the residence at 3935 Parliament Place, Apartment 40, Kettering, Ohio.
Agents and officers of the Kettering Police Department and Ohio BCI executed the search
warrant on or around May 3, 2018. Below is a summary of events that transpired during the
execution of the search warrant

a. When agents and officers arrived, they encountered TOl\/ll\/IY LAVERY and
STEPHEN LAVERY. TOMMY LAVERY identified that STEPHEN LAVERY
was his son, and that they lived together at the residence

b. An LG cellular telephone bearing l\/lodel LGl\/IS210 was located on STEPHEN
LAVERY’s person Various other electronic media were located in the residence
during the search. Pursuant to the search warrant, computer examiners from the
Ohio BCI conducted forensic previews of these items Child pornography files were

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CaSe: 3218-mj-00576-|\/|.]N DOC #Z 1 Filed: 08/17/18 Page: 11 Of 13 PAGE|D #Z 11

located on STEPHEN LAVERY’s LG cellular telephone but not on any other
devices

After being advised of his Miranda rights, STEPHEN LAVERY agreed to be
interviewed STEPHEN LAVERY acknowledged that the LG cellular telephone
belonged to him. STEPHEN LAVERY advised that some time ago, someone had
sent him child pornography files in a chat room. STEPHEN LAVERY reported
that since that time, he had viewed child pornography on his cellular telephone
STEPHEN LAVERY thought that he had an addiction to child pornography and
needed help.

STEPHEN LAVERY’s LG cellular telephone was seized and further examined pursuant to
the search warrant This examination revealed the following information (among other
information):

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l\/lore than approximately one thousand image files and more than approximately
thirty video files depicting child pornography were recovered from the device (as
defined by 18 U.S.C. § 2256(8)). By way of example, five of the files are described

as follows:

i. TODFUK.mp4: The file is a video that depicts what appears to be a toddler-
aged white female child who is nude from the waist down and lying on her
back. What appears to be an adult white male engages in anal sexual
intercourse with the child The video is approximately forty-eight seconds in
duration

ii. asianfuck.mp41 The file is a video that depicts what appears to be a nude pre-
pubescent Asian female child lying on her back. What appears to be an adult
white male engages in vaginal sexual intercourse with the child The video is
approximately fourteen seconds in duration

iii. 8iOS image upload.ipeg: The file is an image that depicts what appears to
be a pre-pubescent white female child lying on her back. The words “FUCK
ME” are written on her abdomen above her vagina. What appears to be a
penis is inserted into the child"s anus What appears to be another penis is
pointed toward and near the child’s face

iv. 2DBD3.]`pg: The file is an image that depicts what appears to be a nude
toddler-aged white female child. What appears to be a penis is in the child’s
mouth.

v. 1521353126256.]`pg: The file is an image that depicts what appears to be a

pre-pubescent white female child who is nude from the waist down and lying
on her back. Her arms and legs are bound together with white tape and white

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CaSe: 3218-mj-00576-|\/|.]N DOC #Z 1 Filed: 08/17/18 Page: 12 Of 13 PAGE|D #Z 12

rope, and white tape is covering her mouth. The child’s legs are spread apart,
exposing her nude vagina to the camera

b. At least approximately seventeen of the image files recovered from the
shinigamibeasty@gmail.com Rabb.it account (as reported by Rabb.it to the
CyberTipline as detailed above) and approximately two of the image files uploaded
to Bing Images by the TARGET IP ADDRESS (as reported by Microsoft
Corporation to the CyberTipline, as detailed above) were recovered from the LG
cellular telephone Some of these files were saved in the active space of the phone,
while others were recovered from areas of the phone that save thumbnail images for
files viewed on the phone

i. lt was noted that the hash values for some of the images did not match the
hash values for the files recovered by Rabb.it and Microsoft Corporation.
However, the files appear to be the same based on a manual inspection
Based on my training and experience (and as further detailed above in the
Background section of the Affidavit), l know that small changes to files - to
include converting a file to a thumbnail image - can change the hash value of
a file

c. A Google account was established on the phone associated with the email address
shinigamibeasty@gmail.com (the email address associated with the Rabb.it account).

Based on all of the information detailed above, there is probable cause to believe that
STEPHEN LAVERY is the user of the TARGET IP ADDRESS, the
shinigamibeastv@gmail.com Rabb.it account, the goddeadl45@hotmail.com Dropbox
account, and the LG cellular telephone There is also probable cause to believe that
STEPHEN LAVERY has used his shinigamibeastv@amail.com Rabb.it account, his
goddeadl45@hotmail.com Dropbox account, the Bing Image search engine, and his LG
cellular telephone to possess, access, and distribute child pornography files

C()NCLUSION

Based on the aforementioned factual information I respectfully submit that there is probable
cause to believe that on or around April 14, 2018, STEPHEN LAVERY, in the Southern
District of Ohio, knowingly distributed any visual depiction using any means or facility of
interstate or foreign commerce that has been mailed, shipped and transported in or affecting
interstate or foreign commerce, by any means including by computer; and the production of
such visual depiction involved the use of a minor engaging in sexually explicit conduct and
the visual depiction is of such conduct, or attempted or conspired to do so, in violation of 18
U.S.C. § 2252(a)(2) and (b)(l).

There is also probable cause to believe that on or around May 3, 2018, STEPHEN
LAVERY, in the Southern District of Ohio, did knowingly possess at least one matter
which contains any visual depiction that has been mailed, shipped and transported using any

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CaSe: 3218-mj-00576-|\/|.]N DOC #Z 1 Filed: 08/17/18 Page: 13 Of 13 PAGE|D #Z 13

means and facility of interstate or foreign commerce, including by computer; and the
production of such visual depiction involved the use of a minor engaging in sexually explicit
conduct, and such visual depiction was of such conduction, or attempted or conspired to do
so, in violation of 2252(a)(4)(B) and (b)(2).

32. l therefore respectfully request that a criminal complaint be granted upon this Affidavit.

     

Special Agent n rea R. Ki z`
F ederal Bureau of Investigation

 

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